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     7
     8                 UNITED STATES DISTRICT COURT FOR THE
     9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
    10
    11   FRANKIE MITCHELL,                    Case No. 2:20-cv-01789-MCS-AGR
    12                    Plaintiff,          DECLARATION OF JOSEPH FOGEL
               v.                             IN SUPPORT TO MOTION IN LIMINE
    13
         NEW YORK LIFE INSURANCE              Date: June 7, 2021
    14   COMPANY,                             Time: 2:00 p.m.
                                              Courtroom: 7C
    15                    Defendant.
    16                                        Hon. Mark C. Scarsi, Judge Presiding
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     1                         DECLARATION OF JOSEPH FOGEL
     2         I, Joseph Fogel, hereby make the following Declaration of my own personal
     3   knowledge, and would so testify if called as a witness in this matter, as follows:
     4
     5         1.     I am the lead trial lawyer for Plaintiff in this case. I have knowledge
     6   of the following from my own efforts on the Plaintiff’s behalf in this case, and
     7   from the documents sent and received in this case.
     8
     9         2.     The insurance company in this case has not provided a denial letter
    10   that states the basis for any denial of the claim, nor has the insurance company
    11   been forthright about its reasons for the claims handling on this claim.
    12
    13         3.     Defendant produced documents labeled “NYL001-NYL00135" on
    14   May 19, 2020. Other than the Confidential Materials described below, these are
    15   the only documents produced by the Defendant insurance company.
    16
    17         4.     After meeting and conferring, Plaintiff obtained a supplemental
    18   production, pursuant to a Confidentiality Stipulation and Order of the Court.
    19   Defendant’s Supplemental Production (pursuant to the Confidentiality Order) is
    20   labeled “NYL154-NYL308" and is principally claims and investigative manual
    21   materials. Other than the Confidential Materials, the Defendant insurance
    22   company has not produced any additional documents.
    23
    24         5.     Then, in its moving papers on Summary Judgment on March 8, 2021,
    25   the Defendant insurance company relied in part on documents that were not
    26   produced in the disclosure or production of documents. Most of moving party’s
    27   referenced documents lack a production marking, such as “NYL___” which was
    28   placed on the only documents produced by Defendant.

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     1         6.       Steven Barrett has not previously been identified as a witness in this
     2   case. His name does not appear on any of the Defendant’s disclosure or
     3   production documents. There was no prior indication by Defendant that Mr.
     4   Barrett had any knowledge of the facts in this matter. In fact, Defendant’s
     5   Disclosures of May 13, 2020 state that “Defendant Corporate Vice President
     6   Matthew Pittarelli” may have “discoverable information.” At no time has
     7   Defendant supplemented the disclosure stating that “Steven Barrett” has any
     8   discoverable information.
     9
    10         7.       Attached hereto as Exhibit 41 is a true and correct copy of Plaintiff’s
    11   counsel’s letter of August 17, 2020 to Defendant’s counsel, confirming that
    12   “Defendant had produced all the documents that it had in this matter.” This letter
    13   followed multiple prior letters and emails in which Plaintiff sought confirmation
    14   that Defendant insurer did not have any other documents to disclose or produce in
    15   this matter.
    16
    17         The foregoing statements are made pursuant to penalty of perjury under the
    18   laws of the United States, this 17th day of May, 2021, at Los Angeles County,
    19   California.
    20                                                     Joseph S. Fogel /s/
                                                           Declarant
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